            Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :

       v.                                     :      Case No. 21-cr-332-PLF

PAUL RUSSELL JOHNSON, et al.,                 :

                                              :


    PAUL JOHNSON’S MOTION TO SEVER AND PRELIMINARY RESPONSE
  TO GOVERNMENT’S SEPT. 22, 2021 FILING REGARDING THE SPEEDY TRIAL
                                  ACT

       Pursuant to the Sixth Amendment, the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), and

Federal Rule of Criminal Procedure 14(a), Paul Johnson, through counsel, moves this Court to

sever his case from that of his co-accused, Stephen Randolph. Mr. Johnson requests that this Court

set a trial date within a reasonable period of time. Additionally, Mr. Johnson offers this Motion as

his initial response to the government’s Response to the Court’s Inquiry Regarding the Application

of the Speedy Trial Act (Dkt. No 42) filed yesterday evening. In support of this Motion, Mr.

Johnson states as follows:

                                       INTRODUCTION

       Today marks the 164th Day that Mr. Johnson has had to live with the opprobrium of the

government accusing him of significant federal crimes in a federal Indictment (Dkt. No. 15) with

no immediate prospect of clearing his name by trial. During these 164 days, the government has

falsely accused Mr. Johnson of being a “rioter” at the January 6, 2021 Capitol Breach. Gov’t.’s

Resp. to the Court’s Inquiry Regarding Application of the Speedy Trial Act. [“Gov’t. Resp.”] at
         Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 2 of 10




2 (Dkt. No. 42).1 The government has wrongly called Mr. Johnson a “Three Percenter” and thus,

a member of an anti-government extremist group tracked by the Anti-Defamation League

(“ADL”). Gov’t. Opp’n. to Motion to Modify Cond. of Release at 22 (Dkt. No. 34). Mr. Johnson

is not charged with rioting or being a member of a hate group. He has no way to push back

against the government’s unfair and uncharged allegations, except to go to trial. Now, the

government increases the daily indignity that he must suffer by constantly delaying his Sixth

Amendment Right to a Speedy Trial, codified at 18 U.S.C. § 3161(c)(1). To be fair, Mr. Johnson

has been fair. Out of the five times that the government has asked a court for a Speedy Trial

continuance, Mr. Johnson acquiesced four times. Memo. Op. & Order at 1 (Dkt. No. 37). By

comparison, the government has failed to comply with all of Mr. Johnson’s discovery requests

and the entire discovery process has been a slow walk.2 However, from May 6, 2021 to July 29,

2021, the government has provided approximately 835 pages of documents, 100 images, and 23

videos. Just this Tuesday, September 21, 2021, the government provided another approximately

800 pages of documents. While the government’s non-case specific filing on September 20,

2021, indicated that the government still anticipates providing electronic discovery via

Evidence.com and more documents via Relativity, Gov’t’s. Memo. Regarding Status of

Discovery as of September 14, 2021 [“Gov’t. Disc. Memo.”] at 2-5 (Dkt. No. 40), it has already




1
  The term “Capitol Breach” is the government’s term to describe the events of January 6, 2021
at the U.S. Capitol. Gov’t. Memo. Regarding Status of Discovery as of Sept. 14, 2021 [“Gov’t.
Status Memo.”] at 1 (Dkt. No. 40).

2
 As the government indicated in its latest filing, Gov’t’s. Resp. at 4 n. 2, on September 10, 2021,
Mr. Johnson sent the government an 11-page discovery letter under Federal Rule of Criminal
Procedure 16, Local Criminal Rule 5.1, Rule 3.8 of the D.C. Rules of Professional Conduct,
Brady v. Maryland, 373 U.S. 83 (1963) and its progeny including United States v. Nelson, 979 F.
Supp. 2d 123, 135-36 (D.D.C. 2013) (holding that the government’s Brady obligation attaches
pre-trial). The government has yet to respond.
                                                2
           Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 3 of 10




missed its self-determined dates to provide discovery. See, e.g., Gov’t. Disc. Memo. at 3

(government missed the September 17, 2021 date to provide the body-worn camera evidence).

Instead of choosing a smarter way to deal with the root causes that allowed for the events of

January 6, 2021, the government chose, in the Age of Mass Incarceration, to charge over 500

people without a plan to respect the Sixth Amendment’s right to a Speedy Trial for the accused.

Mr. Johnson has been fair with dealing with the government’s constant delays. Now, it is time

for this Court to sever this case and allow Mr. Johnson to have what is fair—a trial.

                                   FACTUAL BACKROUND

       On April 12, 2021, the United States District Court for the District of Columbia issued an

arrest warrant charging Mr. Johnson for acts allegedly committed during the Stop the Steal rally

in Washington, D.C. on January 6, 2021. On April 13, 2021, agents of the Federal Bureau of

Investigation (“FBI”) arrested Mr. Johnson at his Virginia home in the early morning hours.

       On April 30, 2021, a grand jury indicted Mr. Johnson along with Mr. Randolph, for acts

allegedly committed during the Stop the Steal rally in Washington, D.C. on January 6, 2021. The

Indictment alleges eight counts against Mr. Johnson,3 including a violation of 18

U.S.C. §§ 111(a)(1) and (b) for an alleged assault on a D.C. Capitol Police officer who fell

backwards and hit her head while protestors were pushing and pulling on a metal barricade. The



       3
          The eight counts are: (1) civil disorder, in violation of 18 U.S.C. § 231(a)(3); (2)
obstruction of an official proceeding, in violation of 18 U.S.C. § 1512(c)(2); (3) assaulting,
resisting or impeding certain officers, in violation of 18 U.S.C. §§ 111(a)(1) and (b); (4) entering
and remaining in a restricted building or grounds with a deadly or dangerous weapon, in violation
of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A); (5) engaging in physical violence in a restricted building
or grounds with a deadly or dangerous weapon and resulting in significant bodily injury, in
violation of 18 U.S.C. §§ 1752(a)(2) and(b)(1)(A); (6) engaging in physical violence in a restricted
building or grounds with a deadly or dangerous weapon and resulting in significant bodily injury,
in violation of 18 U.S.C. §§ 1752(a)(4), (b)(1)(A), and (b)(1)(B); (7) disorderly conduct in a
Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(D); and (8) act of physical violence in the
Capitol grounds or buildings, in violation of 40 U.S.C.§ 5104(e)(2)(F).
                                                 3
          Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 4 of 10




indictment alleges a separate, standalone count against Mr. Randolph under 18 U.S.C. § 111(a)(1)

for a purported second assault on a D.C. Capitol Police officer (Count 4).

        As to the standalone assault count against Mr. Randolph, on publicly available video, he

can be seen climbing over a metal barricade and attacking the officer by “grabbing for [his] neck.”

Govt’s Mem. In Opp’n to Def.’s Mot. to Revoke Det. Order [“Govt’s Opp’n”] at 5. Two other

officers came to the officer’s aid, attempting to pull Mr. Randolph off of him.

        Months later, two undercover law enforcement officers visited Mr. Randolph at his place

of employment and spoke with him about the events of January 6th. Mr. Randolph admitted that

he was there and that “It was fucking fun.” Govt’s Opp’n at 7. Mr. Randolph stated that he saw

the first officer get pushed over by the metal barricades and that her head bounced off the handrails

by the stairs. Mr. Randolph speculated that she probably had a concussion because she was curled

up in the fetal position.

        At a July 27, 2021 status conference, Mr. Johnson argued that the Speedy Trial Clock

should not be tolled and that his case should be set in for trial as soon as practicable. The Court

disagreed, concluding that Mr. Johnson’s Speedy Trial Clock is linked to the Mr. Randolph’s, and

that Mr. Randolph’s decision to agree to the government’s request for a speedy trial waiver dictates

that running of the Clock for both of them. Mem. Op. & Order (July 29, 2021), ECF No. 37.

                                            ARGUMENT

        The Federal Rules of Criminal Procedure provide a two-step process for determining

whether joinder of the accused is proper in a criminal action. First, Rule 8(a) permits the

government to charge multiple persons in a single indictment “if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions, constituting

an offense or offenses.” Second, even if joinder is proper under Rule 8(a), Rule 14(a) permits a



                                                   4
         Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 5 of 10




court to sever the accused if joinder “appears to prejudice” one of them.” Zafiro v. United States,

506 U.S. 534, 537 (1993). The Court has “wide discretion” in determining whether to sever the

trials of defendants if they have been properly joined. United States v. Ford, 870 F.2d 729, 730

(D.C. Cir. 1989). The Court should grant a motion to sever the trials of defendants under Rule 14

if there is a serious risk that a joint trial would compromise a specific trial right of one of the

defendants, or prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro,

506 U.S. at 539; see also United States v. Slatten, 865 F.3d 767, 810 (D.C. Cir. 2017).

A.     Requiring a joint trial would compromise Mr. Johnson’s Sixth Amendment right to
       a Speedy Trial.

       The Sixth Amendment guarantees the accused’s right to a Speedy Trial. U.S. Const. amend.

VI. Mr. Randolph’s election to waive his right to a Speedy Trial is interfering with Mr. Johnson’s

Sixth Amendment rights. Mr. Johnson seeks a swift resolution of the charges against him so that

he can resume his normal life as a father, a small business owner, a hunter—who no longer suffers

the indignity of being associated with people who rioted at the Capitol. He wishes to be free of the

phone “app” that monitors his every moment and wakes him in the middle of the night as a

condition of his pretrial release. Most importantly, he wants to clear his name and rebuild his

reputation. Requiring a joint trial would impede Mr. Johnson’s ability to achieve the swift

resolution he seeks.

       Under the Speedy Trial Act, Mr. Johnson asks that the Court set a trial date given that 164

days without a trial date is not a “reasonable period of delay.” 18 U.S.C. § 3161(h)(6). The Speedy

Trial Act provides “[a] reasonable period of delay when the defendant is joined for trial with a

codefendant as to whom the time for trial has not run and no motion for severance has been

granted.” Id. Here, Mr. Johnson’s co-defendant is willing to toll the Speedy Trial Clock, and thus,

the co-defendant’s time for trial has not run. Today, Mr. Johnson has filed the instant Motion and

                                                 5
          Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 6 of 10




thus, the Court must consider what is a reasonable time for delay. “Reasonableness may [] be

judged in terms of prejudice to the defendant.” United States v. Darby, 744 F.2d 1508, 1519 (11th

Cir. 1984).

       Here, there is prejudice to Mr. Johnson for, at least, three reasons—the Constitution,

finances, and anxiety. First, he has a constitutionally created Right to Trial. Section 3161 effects

that right in 70 days. It has been 164 days. The government has taken 164 days to create a discovery

plan that has not come to fruition. Consequently, Mr. Johnson sits daily in a discovery No Man’s

Land hoping the government will finally get it right and he can exercise his Sixth Amendment

Right to Trial. Second, Mr. Johnson is prejudiced because when the government takes the liberty

to call him a “rioter” and a “Three Percenter,” he has no way to clear his name without a trial. The

longer he waits the longer Mr. Johnson’s reputation is savaged by the Indictment and the

government’s actions. The hit to his reputation threatens his business’s ability to survive. That

economic threat undercuts his ability to provide for his family and pay for his legal defense. The

longer this case goes, the worse it is for Mr. Johnson’s economics. By comparison, the

government’s budget for this case far outstrips what Mr. Johnson can match. The government can

afford to wait. Mr. Johnson cannot. Third, Mr. Johnson suffers the mental and psychological

trauma of being caged in the Age of Mass Incarceration. He has never faced such a daunting

possibility. That soul-crushing anxiety takes its toll.


B.     There is a serious risk that the evidence of Mr. Randolph’s crimes could lead the jury
       to erroneously convict Mr. Johnson.

       One such serious risk occurs “when the evidence against one or more defendants is ‘far

more damaging’ than the evidence against another defendant.” United States v. Moore, No. 18-

198 (JEB), 2021 WL 1966570, at *4 (D.D.C. May 17, 2021) (quoting United States v. Wilson, 605



                                                   6
          Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 7 of 10




F.3d 985, 1018 (D.C. Cir. 2010)). In such cases, “the prejudicial spillover may have deprived a

defendant of a fair trial.” Id. (quoting Wilson, 605 F.3d at 1018). The United States Court of

Appeals for the D.C. Circuit has recognized that “[t]hree kinds of prejudice warrant relief under

Rule 14”: first, “the jury may cumulate evidence of the separate crimes”; second, “the jury may

improperly infer a criminal disposition and treat the inference as evidence of guilt”; or, third, “the

defendant may become ‘embarrassed or confounded’ in presenting different defenses to the

different charges.” Blunt v. United States, 404 F.2d 1283, 1288 (D.C. Cir. 1968) (quoting Drew v.

United States, 331 F.2d 85, 88 (D.C. Cir. 1964)).

        Here, the jury may cumulate the evidence of the separate crimes with which Mr. Johnson

and Mr. Randolph are charged. Mr. Randolph’s conduct stands in stark contrast to that of Mr.

Johnson’s, as Mr. Johnson merely put his hands on the metal barricade and then attempted to

move it out off of the officer who had fallen over. Mr. Randolph, by contrast, was pushing on the

metal barricade while directly in front of the officer who fell over, and then climbed over the

metal barricade and grabbed for a second officer’s neck. Govt’s Opp’n at 5. Mr. Johnson is in no

way implicated in Mr. Randolph’s second assault on a Capitol police officer, and putting

evidence in front of the jury of Mr. Randolph’s second assault, including a Capitol police officer

testifying to his injuries, could result in a spillover that inflames the prejudices of the jury against

Mr. Johnson and confuses Mr. Randolph’s conduct with Mr. Johnson’s.

        The jury may also improperly infer from Mr. Randolph’s criminal disposition that Mr.

Johnson is guilty of the crimes with which Mr. Johnson is charged. This is especially the case

where, as here, Mr. Randolph’s alleged second assault on a police officer demonstrates “a higher

level of aggression and intentionality,” Govt’s Opp’n at 9, than that of Mr. Johnson and made

comments to undercover officers that the events of January 6th were “fucking fun,” id. at 7.



                                                   7
         Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 8 of 10




Moreover, the second assault charge against Mr. Randolph arises from a completely separate

nucleus of facts. Even the government differentiates Mr. Randolph’s culpability from that of Mr.

Johnson. See Govt’s Opp’n at 1 (“Unlike many of those who engaged in violence, such as co-

defendant Johnson, defendant did not stop at one act, but followed up his first assault with a

second assault on law enforcement.”). Trying the second, standalone assault charge against Mr.

Randolph alongside the charges against Mr. Johnson puts Mr. Johnson at a very real risk that the

jury will find him guilty by association as opposed to making a reliable judgment about his guilt

or innocence. See Zafiro, 506 U.S. at 539.




                                                 8
         Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 9 of 10




                                       CONCLUSION

       WHEREFORE, for the reasons stated above, Mr. Johnson respectfully requests that the

Court exercise its power under the Sixth Amendment, the Speedy Trial Act, and Federal Rule of

Criminal Procedure 14(a) to sever his case from that of Mr. Randolph’s and set a trial date in a

reasonable time period.



Dated: September 23, 2021                   Respectfully submitted,



                                                         /s/
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                                               9
        Case 1:21-cr-00332-PLF Document 43 Filed 09/23/21 Page 10 of 10




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading was served on all counsel of
record via the Court’s electronic filing service.


                                             /s/ Kobie Flowers
                                          Kobie Flowers


Date: September 23, 2021




                                            10
